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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

         v.                                                 Case No. 17-cv-11633-DJC

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,
      Defendants.


                            COMMISSION’S OPPOSITION TO
                      DEFENDANTS’ MOTION TO STAY PROCEEDINGS

       The Commission opposes Defendants’ Motion (ECF No. 283) to stay these proceedings.

Defendants claim the Court has been divested of jurisdiction based on what they admit is a

premature appeal. But they get the law wrong. They argue that the Court must wait for the

Supreme Court’s decision in Liu v. SEC. But they erroneously convert the Court’s discretion to

do so to a requirement. And they make perfunctory arguments that they meet the criteria for a

stay, but fail to recognize the fatal flaw in their current appeal (the lack of a final judgment) and

the interests of their former clients and the public. The Court should deny the Motion to Stay,

decide remedies, and allow this case to proceed to resolution or appeal.

A.     This Court’s Jurisdiction is Not Divested by Defendants’ Premature Appeal

       Defendants told this Court that, “Defendants do not believe there is yet a final judgment

in this case,” but “[o]ut of an abundance of caution, Defendants … filed a notice of appeal”

because they (mistakenly) believed that the time to appeal the Order granting partial summary

judgment would run on April 13, 2020. ECF No. 274. They characterized their action as “a

precautionary notice of appeal.” Id. But now they claim this precaution actually deprives this


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Court of its jurisdiction to decide remedies.

       The First Circuit has squarely addressed the deficiency in Defendants’ argument:

       While an appeal from either a final order or an interlocutory order made
       immediately appealable by statute divests a district court of authority to proceed
       with respect to any matter touching upon, or involved in, the appeal, an
       interlocutory appeal that is brought without any colorable jurisdictional basis does
       not deprive the district court of jurisdiction over the underlying case. Thus, when
       a litigant purposes to appeal a plainly unappealable order, the trial court
       may treat the appeal for what it is—a sham—and continue to exercise
       jurisdiction over the case. Were the rule otherwise, a litigant bent on vexation
       could temporarily divest a trial court of jurisdiction at whim.

United States v. Mala, 7 F.3d 1058, 1060-61 (1st Cir. 1993) (emphasis added)(internal citations

removed); see also United States v. Brooks, 145 F.3d 446, 456 (1st Cir. 1998) (“[A] district court

can proceed, notwithstanding the filing of an appeal, if the notice of appeal is defective in some

substantial and easily discernible way (if, for example, it is based on an unappealable order) or if

it otherwise constitutes a transparently frivolous attempt to impede the progress of the case.”).

       Defendants’ case citations to Mills and George fail to make their point. Defendants claim

that, in Mills v. Elec. Auto-Lite Co., 396 U.S. 375 (1970), the circuit and Supreme Court ruled on

the merits of the appeal before the district court ruled on damages. True, but Defendants

carefully overlook the key fact: “[t]he District Court made the certification required by 28

U.S.C. § 1292(b), and respondents took an interlocutory appeal….” 396 U.S. at 379. Here,

Defendants have not sought or been granted Section 1292 certification. In United States v.

George, 841 F.3d 55, 70 (1st Cir. 2016), “the district court entered judgment” sentencing the

defendant to terms of imprisonment and directing him to pay restitution, but “[t]hat judgment did

not contain any dispositive provision with respect to forfeiture.” This Court held that because

defendants had appealed after the entry of the “original judgment,” the district court lacked

jurisdiction to subsequently “enter an amended judgment” that added a forfeiture order. Id. at

70-71. Here, there has been no entry of judgment. The district court has decided liability only.
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Defendants’ premature appeal is no impediment to this Court determining remedies and entering

an order of final judgment.

B.     This Court Need Not Wait for SEC v. Liu

       Nor does this Court need to wait to enter final judgment because of the Supreme Court’s

consideration of Liu v. SEC (18-1501). As the Commission argued in further detail in its

remedies Reply (ECF No. 281, pp. 1-3), the Court’s power to order disgorgement in this case is

the law of this (and every other) circuit, and the Court can and should follow that existing law in

determining remedies. Nor do the cases cited by Defendants compel any other result. In Bechtel

Corp. v. Local 215 Laborers Intn’l Union, 544 F.2d 1207 (3d Cir. 1976), the court deferred an

order pending an arbitration decision on a jurisdictional issue. The Third Circuit found that

deferral was not an abuse of discretion. In Momenta Pharm. v. Amphastar, a party tried to

collect on a bond. The district court denied the effort to enforce liability on the bond until after

the Federal Circuit decided an issue at the heart of the case. Neither case applies here. This

Court can enter final judgment and order remedies without jurisdictional questions and without

disturbing any issue core to the case (particularly as disgorgement (the issue in Liu) is only one

of several remedies the Commission currently seeks and not central to the finding of liability).

Defendants have offered no compelling reason for the Court to wait to enter final judgment.

C.     Defendants Do Not Meet the Criteria for a Stay

       Defendants do not meet the criteria for a stay. First, there currently no likelihood of

success on appeal. Defendants have appealed prematurely, without a final judgment on which to

base their appeal. The First Circuit will likely dismiss it for lack of a final order from this Court.

To stay pending that outcome will merely cause more delay for the Court and both parties.

       Second, Defendants will not be irreparably harmed if this Court decides remedies and


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enters a final judgment. In fact, Defendants will be helped, because they then will have an

appealable order. Nor is the possibility of a money judgment “irreparable.” “[M]oney, time and

energy necessarily expended in the absence of a stay, are not enough. The possibility that

adequate compensatory or other corrective relief will be available at a later date, in the ordinary

course of litigation, weighs heavily against a claim of irreparable harm.” Sampson v. Murray,

415 U.S. 61, 90 (1974). Defendants’ argument that the size of the potential disgorgement makes

the entry of final judgment into an irreparable harm makes little sense. If the disgorgement order

(in a currently unknown amount), would make posting a bond difficult, Defendants may petition

this Court for relief once that order is entered. See CardiAQ Valve Technology v. Neovasc Inc.,

Civ. Act. No. 14-cv-12405-ADB, 2016 WL 8710447, at *1-2 (D. Mass. Dec. 2, 2016) (detailing

possibilities for alternative forms of security to obtain a stay pending appeal, but recognizing full

bond should be the requirement in normal circumstances). In any event, this Court cannot

currently assess Defendants’ financial hardship claim as the Court has not yet ordered money to

be paid and Defendants have proffered no information about their financial status.

       Third, on the balance of equities, Defendants (perhaps unsurprisingly) assign no weight

either to the interest of clients who were defrauded or the Commission’s role in policing fraud by

investment advisers. These interests are at least as strong as Defendants’ interest in not giving

up the proceeds of their fraud.

       Fourth, a stay would harm the public interest, as the parties and the Court would merely

wait for the likely dismissal of the current appeal, and only then engage in the determination of

remedies. “The public has an interest in … the prompt resolution of civil cases….” Digital

Equip. Corp. v. Currie Enter., 142 F.R.D. 8, 14-15 (D. Mass. 1991). The “public interest in the

integrity of securities markets militates in favor of the efficient and expeditious prosecution of



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these civil litigations.” Arden Way Assocs. v. Boesky, 660 F. Supp. 1494, 1500 (S.D.N.Y. 1987).

The public interest lies in resolving this case.

       On balance, there is no compelling reason to grant a stay at this time. The Court should

deny the Motion to Stay (ECF No. 283).


Dated: May 5, 2020                             Respectfully submitted,

                                               SECURITIES AND EXCHANGE
                                               COMMISSION

                                               By its Attorneys,

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                                  CERTIFICATE OF SERVICE

        I certify that on May 5, 2020, a copy of the foregoing was electronically filed through the
ECF system and will be sent electronically to all persons identified in the Notice of Electronic
Filing and that paper copies will be sent to those indicated as non-registered participants.

Dated: May 5, 2020                             /s/ Marc J. Jones




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